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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

WALTER LEE WRIGHT, #155663                                :

        Petitioner                                        :

        v.                                                :                Civil Action No. AW-05-2371

RODERICK R. SOWERS, WARDEN and
J. JOSEPH CURRAN, JR.,                                   :
  THE ATTORNEY GENERAL OF THE
   STATE OF MARYLAND                                      :

        Respondents                                       :

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                                            MEMORANDUM

        On August 30, 2005, Petitioner Walter Lee Wright, presently incarcerated at the Roxbury

Correctional Institution in Hagerstown, filed the above-captioned Petition for Writ of Habeas Corpus

pursuant to 28 U.S.C. § 2241. Although hard to discern from the initial pleading, Petitioner contends

that Maryland Division of Correction (“DOC”) personnel have improperly calculated his release date as

a result of a change in the regulations affecting diminution credits that took place after he entered the

DOC. The court has reviewed the parties’ submissions (Paper Nos. 1, 3, 7, 8, 9, 11 and 12), and will

decide the case without requiring a hearing, in conformity with Local Rule 105.6 (D. Md. 2004).

        Ordinarily, sentence and diminution credit calculation issues are issues of state law and do not

give rise to a federal question. See McCray v. Rosenblatt, 1994 WL 320212 (4th Cir.1994) (per

curiam) (unpublished); see also Estelle v. McGuire, 502 U.S. 62, 67-68 (1991); Pringle v. Beto,

424 F.2d 515, 516 (5th Cir. 1970). Violation of a state law which does not infringe upon a specific

constitutional right is cognizable in federal habeas corpus proceedings only if it amounts to a
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“fundamental defect which inherently results in a complete miscarriage of justice”. Hailey v. Dorsey,

580 F.2d 112, 115 (4th Cir. 1978) (quoting Hill v. United States, 368 U. S. 424, 428 (1962)).

         Petitioner, a repeat criminal offender, does not contest Respondents’ claim, supported by

exhibits, indicating that he lost 552 days credit against service of his sentences while on escape from the

DOC.1 Paper Nos. 7 and 8. He does not dispute Respondents’ calculation that the maximum

expiration date for his term of confinement within the DOC is September 26, 2016. Further, he does

not take issue with the DOC’s initial determination that he would start his term with 3,850 diminution

credits, including 2,081 “good conduct credits” (“GCC”) from the DOC and 41 GCC credited for

good behavior while at county institutions.2 Id. Indeed, Petitioner does not contend that the DOC’s

later revocation of all 2,081 GCC is impermissible.3 His disagreement is not whether the credits were

rescinded, but rather with the DOC’s recent policy change that eliminated his ability to “earn back” the

credits lost.

         Under Division of Correction Directive (“DCD”) 100-116, prisoners are able to have some or

all of their revoked diminution of confinement credits restored. On July 30, 2004, the DCD was

modified to make a prisoner found to have escaped from custody ineligible for the restoration of


         1
                 Petitioner escaped custody on November 29, 1985, and remained at liberty until his arrest on
September 26, 1986, by Montgomery County police. He subsequently was charged and convicted of two additional
offenses which occurred during his period of escape.

         2
                   An additional 879 “special project credits” (“SPC”) and 890 “industrial credits” (“IC”) awarded to
Petitioner by the DOC (Paper No. 8 at 5) also are not at issue in this litigation.

         3
                    While a prisoner may contest the revocation of good conduct credits based on wrongful
adjustment convictions, the grounds for federal review of such claims is limited to a review as to whether he or she
has been provided sufficient procedural due process under Wolff v. McDonnell, 418 U.S. 539 (1974), and whether his
or her substantive due process rights were met in that the disciplinary hearing decision was unquestionably based
upon "some evidence" submitted before the hearing officer. See Superintendent, Mass. Correctional Institute v.
Hill, 472 U.S. 445 (1985).

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diminution of confinement credits. Paper No. 7, Exhibit 3. In essence, Petitioner seeks to mount an ex

post facto challenge the reformulated DCD.

        The Constitution provides that “[n]o State shall...pass any...ex post facto Law.” U.S. Const.

Art. I, § 10, cl. 1. The Supreme Court has determined that this provision prohibits legislative acts that

would “retroactively alter the definition of crimes or increase the punishment for criminal acts.” Collins

v. Youngblood, 497 U.S. 37, 43 (1990). In order for an ex post facto violation to occur, a statute

“must apply to events occurring before its enactment.” While Respondents cite two cases from other

circuits to support their argument that the 2004 changes to the DCD did not violate the ex post facto

clause, they fail to provide a detailed analysis explaining how and when changes in the DCD occurred

over the course of Petitioner’s incarceration. They further fail to explain how the DCD at issue here

differs from the legislative changes at issue in California Dep’t of Corrections v. Morales, 514 U.S.

499 (1995), Weaver v. Graham, 450 U.S. 24 (1981), and other potentially significant decisions.

        Accordingly, a separate Order shall be entered requiring Respondents to more fully address the

ex post facto allegation raised in the Petition and herein, and permitting Petitioner an opportunity for

further response related to the supplemental answer.




 November 9, 2005                                                     /s/
Date                                              Alexander Williams, Jr.
                                                  United States District Judge




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